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                            UNITED STATES DISTRICT COURT FOR THE
                                 SOUTHERN DISTRICT OF OHIO
                                      WESTERN DIVISION

JENNIFER MYERS, ET AL.                                   :    Case No.
                                                         :
                    Plaintiffs,                          :    Judge
                                                         :
            v.                                           :
                                                         :
ABUBAKAR ATIQ DURRANI, M.D., ET AL.                      :            NOTICE OF REMOVAL
                                                         :
                    Defendants.                          :


        ___________________________________________________________________________
            Defendant Journey Lite of Cincinnati, LLC ( “Journey Lite” or “Defendant”) hereby removes to

this Court the state court action described below. Removal is warranted under 28 U.S.C. § 1332(d)(11).

In support of removal, Defendant states as follows:

                                                BACKGROUND

            On November 4, 2015, Plaintiffs Jennifer and Joseph Myers commenced this action by filing a

complaint in the Court of Common Pleas of Hamilton County, in the State of Ohio, bearing case number

A1505971. (“Complaint”) (attached hereto as Exhibit A). Plaintiffs allege that Dr. Abubakar Atiq

Durrani (“Dr. Durrani”) performed unnecessary surgeries on Ms. Myers that resulted in complications

and injuries. Compl. ¶¶9-23. Plaintiffs also brings claims against Defendant Journey Lite for negligence,

negligent credentialing and retention, fraud, violations of the Ohio Sales Practices Act, violations of the

Ohio Product Liability Act, spoliation of evidence, and loss of consortium. Compl. ¶¶368-438.

            This case is one of hundreds of nearly identical suits against the Defendants involved in these

matters, and specifically one of over forty filed against Journey Lite. Some of these cases were filed in

Hamilton County, and some were originally filed in Butler County. All but roughly 40 of the Butler

County cases were recently voluntarily dismissed and re-filed in Hamilton County. 3 cases involving

Journey Lite remain in Butler County. Each Hamilton County case has been assigned to Hamilton County
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Common Pleas Judge Robert Ruehlman. On December 7, 2015, in preparation for a December 14 case

management conference regarding all of the Hamilton County cases (including those re-filed after being

dismissed in Butler County), Plaintiffs’ counsel submitted to Judge Ruehlman a lengthy “binder,” which

included, among other things, a number of motions, descriptions of Plaintiffs’ counsel’s positions on

various pre-trial issues, and lists of cases currently pending or which were to be filed. See Plaintiffs’

Binder for December 14, 2015 Case Management Conference (“Binder”) (relevant portions are attached

hereto as Exhibit B). In all, Plaintiffs’ counsel claimed to represent Plaintiffs in some 520 individual

cases as part of this litigation, including 172 already filed in Hamilton County, 258 that Plaintiffs’ counsel

planned to dismiss in Butler County and re-file in Hamilton County, and 40 more Butler County cases

that were the subject of a pending motion to transfer to Hamilton County as of December 7.1 Id., pp. 8,

19-29, 209-23, 226-235.

            In the Binder, Plaintiffs unambiguously requested that Judge Ruehlman set “ALL” of these cases

for one single, combined trial or, at a minimum, several smaller group trials. See, e.g., Binder, p. 179-80

(listing “[o]ne scheduled trial for ALL cases [to begin] August 1, 2016” as Plaintiffs’ top choice in a list

of their “Preferences in Order of Preference for Trial Settings”); id., p. 180 (listing “Group Trials with

Many Options” as Plaintiffs’ second choice); id., p. 126 (stating that “[t]he Court has many options [for

setting trial dates, including] [s]chedul[ing] one trial. . . . [or] [s]et[ting] trials by groups . . . .”); id., pp.

153-177 (attaching and citing Suida v. Howard, Nos. C-000656, C-000687, 2002 WL 946188 (Ohio Ct.

App. May 10, 2002) for the proposition that “group trials [are] allowed]”).

            Although Judge Ruehlman did not grant Plaintiffs’ request for a single trial, in a December 15,

2015 order, the court scheduled several trials as follows:

                    1) February 29, 2016: trial in Mike & Amber Sand v. Abubakar Atiq Durrani, et al.,
                    Hamilton County Common Pleas Case No. A 1506694;

                    2) March 14, 2016: trial in Steven Andrew Schultz v. Abubakar Atiq Durrani, et al.,
                    Hamilton County Common Pleas Case No. A 1506861;

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    This motion was later denied. Plaintiffs have filed a motion for reconsideration in each of those cases.
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                    3) May 2, 2016: trial in 14 cases involving Cincinnati Children’s Hospital Medical
                    Center;

                    4) August 1, 2016: trial in 24 cases involving “West Chester/UC Health and any hospital
                    named as a Defendant in the C1C2/False Pannus cases”;

                    5) January 2, 2017: a “massive group trial” in “all remaining Dr. Durrani cases,” which
                    “could take six months to a year.”

General Order on all Dr. Durrani Hamilton County Cases for Case Management Conference December 14,

2015, Hamilton County Common Pleas Case No. A1506577 (“General Order”) (attached hereto as

Exhibit C), pp. 11-15.

            By proposing a joint trial of the claims of over 100 plaintiffs, Plaintiffs created a “mass action,”

as defined in 28 U.S.C. § 1332(d)(11), making this case (and the hundreds of others covered by the

proposal) removable.

                      THIS CASE IS REMOVABLE AS PART OF A MASS ACTION

            This case is removable as part of a mass action, pursuant to the mass action provisions of the

diversity jurisdiction statute, 28 U.S.C. § 1332(d)(11). A removable mass action meets the following

requirements:


                a. It involves the monetary relief claims of 100 or more persons that are proposed to be tried

                    jointly on the ground that the plaintiffs’ claims involve common questions of law or fact,

                    see id. § 1332(d)(11)(B)(i);

                b. The aggregate amount in controversy exceeds $5,000,000 and the claims of the individual

                    plaintiffs exceed $75,000, see id. §§ 1332(a), (d)(2), (d)(11)(B)(i); and

                c. Any plaintiff is a citizen of a State different from any defendant, see id. § 1332(d)(2)(A).

These requirements are satisfied here.
A.      The Plaintiffs’ Binder in the Hamilton County Action Proposed a Joint Trial of the Claims
        of 100 or More Persons

            This case is removable as part of a mass action. In the Binder submitted to Judge Ruehlman,

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Plaintiffs’ counsel explicitly proposed that this case be tried jointly with hundreds of other cases. See 28

U.S.C. § 1332(d)(11)(B)(i); Binder, pp. 126, 153-177, 179-80. Plaintiffs’ counsel based this request on its

belief that these cases involve common questions of law or fact. See 28 U.S.C. § 1332(d)(11)(B)(i);

Binder, p. 179-80 (listing factors that all of the cases proposed to be tried jointly “have in common”); id.,

p. 186 (“The claims against the hospital Defendants are the same in each case. It’s silly to try the same

fact issue against the hospital to 500 juries.”); id., p. 187 (listing factors “common to all cases”). Thus, the

first mass action requirement is satisfied.

            This element is met even though this case has just two plaintiffs (indeed, most of the cases that

were proposed to be tried jointly have just one or two plaintiffs). The Sixth Circuit has not addressed this

issue. However, the Seventh, Eighth, and Ninth Circuits have explicitly approved mass action removal of

individual actions where each includes fewer than 100 plaintiffs, but the actions are proposed to be tried

jointly and, combined, involve at least 100 plaintiffs. See In re Abbott Labs., Inc., 698 F.3d 568, 570-71

(7th Cir. 2012) (removal proper in mass action consisting of ten cases with fewer than 100 plaintiffs each,

where, combined, the cases involved several hundred plaintiffs); Atwell v. Boston Scientific Corp., 740

F.3d 1160, 1161-62 (8th Cir. 2013) (removal proper in mass action consisting of three suits, each

involving fewer than 100 plaintiffs, even though each case involved fewer than 100 plaintiffs); Corber v.

Xanodyne Pharm., Inc., 771 F.3d 1218, 1220 (9th Cir. 2014) (removal proper in mass action consisting of

several cases, each of which had fewer than 100 plaintiffs but had “far more than 100 plaintiffs when

considered together”).

            Further, removal is proper over all cases that Plaintiffs proposed be tried jointly, including those

that are not part of the “massive group trial” set for January 2, 2017. The relevant inquiry is whether

Plaintiffs proposed a joint trial of the claims of 100 or more plaintiffs, not whether the claims of 100 or

more plaintiffs are actually adjudicated together in a single trial. As the Seventh Circuit has noted:

                    A proposal to hold multiple trials in a single suit (say, 72 plaintiffs at a
                    time, or just one trial with 10 plaintiffs and the use of preclusion to cover
                    everyone else) does not take the suit outside § 1332(d)(11). Recall the
                    language of § 1332(d)(11)(B)(i): any “civil action . . . in which monetary

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                   relief claims of 100 or more persons are proposed to be tried jointly” is
                   treated as a “class action”. . . . The question is not whether 100 or more
                   plaintiffs answer a roll call in court, but whether the “claims” advanced
                   by 100 or more persons are proposed to be tried jointly.

Bullard v. Burlington N. Santa Fe Ry. Co., 535 F.3d 759, 762 (7th Cir. 2008) (emphasis added); see also

Atwell, 740 F.3d at 1163 (approving of Bullard and noting that “construing the statute to require a single

trial of more than 100 claims would render 28 U.S.C. § 1332(d)(11) ‘defunct’”); In re Abbott, 698 F.3d at

573 (“[I]t does not matter whether a trial covering 100 or more plaintiffs actually ensues; the statutory

question is whether one has been proposed.’” (quoting Bullard, 535 F.3d at 762)). Thus, the fact that that

Judge Ruehlman scheduled two individual trials as well as two group trials for 14 and 24 plaintiffs is

irrelevant. Plaintiffs’ proposal, standing alone, satisfies the first requirement of mass action removal as to

each and every case included in that proposal.

B.          The Amount in Controversy Is Satisfied

            Both the individual $75,000 and aggregate $5,000,000 amount in controversy requirements for

mass action removal are satisfied. See 28 U.S.C. §§ 1332(a), (d)(2), (d)(11)(B)(i). It is apparent from the

face of Plaintiffs’ Complaint and the claimed “catastrophic injuries” alleged by Plaintiffs that the amount

in controversy exceeds $75,000 for Plaintiffs, individually. Plaintiffs’ Complaint, Prayer for Relief, ¶¶1-

18; Pierce v. Durrani, Judgment Entry, Hamilton Cty., Ohio Common Pleas Case No. A1200265 (Feb. 19,

2014) (companion case involving other Defendants) (attached hereto as Exhibit D). Where, as here,

plaintiffs allege serious bodily injuries, courts have readily found that the amount-in-controversy

requirement is satisfied. See In re Rezulin Prods. Liab. Litig., 133 F. Supp. 2d 272, 296 (S.D.N.Y. 2001);

see, e.g., Smith v. Wyeth, Inc., 488 F. Supp. 2d 625, 630-31 (W.D. Ky. 2007); accord Copley v. Wyeth,

Inc., No. 09-722, 2009 WL 1089663, at *2 (E.D. Pa. Apr. 22, 2009). This is especially true, where, as

here, there is a demand for punitive damages. See Compl. p. 63; Smith v. Nationwide Property and Cas.

Ins. Co., 505 F.3d 401, 408 (6th Cir. 2007) (“As a general rule, [amount-in-controversy] analysis must

also take into account the ability of [plaintiffs] to recover punitive damages, unless it is apparent to a legal

certainty that such cannot be recovered.”). Because Plaintiffs’ claim exceeds $75,000, the aggregate


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amount in controversy, which embraces the claims of the more than 500 individuals who proposed to

have their claims tried jointly (and whose claims also exceed $75,000 each), easily exceeds $5,000,000.

Accordingly, the amount-in-controversy requirement is satisfied.

C.          The Diversity Requirement Is Satisfied

            The diversity requirement for mass action removal is also met. See 28 U.S.C. § 1332(d)(2)(A),

(d)(11)(A). For removal of a mass action, only “minimal diversity” is required, i.e., at least one plaintiff

must be diverse from one defendant. See id. Here, at least one Defendant, Journey Lite, is a citizen of

Ohio for purposes of diversity, and at least one Plaintiff, Steven Andrew Schultz, is a citizen of Indiana.

See Schultz v. Durrani et al., Complaint, Hamilton County Common Pleas Case No. A1506861,

Complaint, December 16, 2015 (attached hereto as Exhibit E). Therefore, all the jurisdictional

requirements of mass action removal are met.

                             ALL REMOVAL PROCEDURES ARE SATISFIED

            Plaintiffs submitted to Judge Ruehlman the Binder proposing a joint trial of the claims of more

than 100 Plaintiffs on December 7, 2015. They e-mailed a copy of the Binder to Defendants on that same

date. Accordingly, this removal is timely, since it occurred “within 30 days after receipt by the defendant,

through service or otherwise, of a copy of an amended pleading, motion, order or other paper from which

it [could] first be ascertained that the case is one which is or has become removable.” See 28 U.S.C. §

1446(b)(3).

            With respect to mass action jurisdiction, removal is not barred by the Ohio citizenship of any

Defendants. See id. § 1453(b).

            Defendants in more than 100 cases have consented to and joined the removal of this mass action,

but consent of all Defendants is not required for mass action removal. See id. §§ 1332(d)(11), 1453(b).

            The Complaint, is attached hereto as Exhibit A, and copies of all other pleadings, process, and

orders in this case are attached hereto as Exhibit F. See id. § 1446(a).

            Written notice of this removal is being provided to all adverse parties and is being filed with the

clerk of the Hamilton County Court of Common Pleas. See id. § 1446(d).

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            Defendant hereby reserves its right to amend this notice of removal.

            WHEREFORE, Defendant respectfully removes this action from the Common Pleas Court of

Hamilton County, in the State of Ohio, to this Court.




                                                    Respectfully submitted,

                                                     /s/ Carolyn A. Taggart
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                                    CERTIFICATE OF SERVICE


            I hereby certify that a copy of the foregoing was served upon the following counsel of

record by electronic mail service on this 6th day of January, 2016:


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                                                           /s/ Carolyn A. Taggart
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